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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
THE CITY OF NEW YORK,

                                                           Plaintiff,      Civ. No. 22-5525

                  -against-
                                                                           NOTICE OF MOTION
ARM OR ALLY, LLC, RAINIER ARMS, LLC, SALVO
TECHNOLOGIES, INC. d/b/a “80P BUILDER,” ROCK
SLIDE USA, LLC, and INDIE GUNS, LLC,

                                                        Defendants.
---------------------------------------------------------------------- x



                  PLEASE TAKE NOTICE that upon the Memorandum of Law in Support of its

Motion for a Preliminary Injunction; the Declaration of Sergeant Richard LeBlond, Deputy

Sheriff in the Office of the New York City Sheriff; the Declaration of Francesca Rosa, Deputy

Sheriff in the Office of the New York City Sheriff; the Declaration of New York City Police

Department (“NYPD”) Inspector Courtney Nilan, Commanding Officer of the NYPD’s Field

Intelligence Program; and the Declaration of Assistant Corporation Counsel Eric Proshansky,

Sylvia O. Hinds-Radix, Corporation Counsel of the City of New York, by Eric Proshansky,

Assistant Corporation Counsel, will move this Court, at the United States United States

Courthouse for the Southern District of New York located at 40 Foley Square, New York, New

York, 10007 on a date and at a time to be designated by the Court, for an Order pursuant to Rule

65 of the Federal Rules of Civil Procedure: (1) pending the entry of a final judgment in this case,

enjoining the Defendants from selling and delivering into New York City “ghost guns,” “80%

receivers or frames,” “unfinished frames or receivers,” unserialized “receivers” or “frames,” or

any kits or collections of “unfinished” or unserialized gun parts that can be assembled into a
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firearm; and (2) granting the City of New York such other and further relief as the Court deems

just and proper.

Dated:         New York, New York
               June 29, 2022
                                                   HON. SYLVIA O. HINDS-RADIX
                                                   Corporation Counsel of the
                                                      City of New York
                                                   Attorneys for Plaintiff The City of New York
                                                   100 Church Street, Rm. 20-099
                                                   New York, New York 10007
                                                   (212) 356-2032

                                                   By: ____________s/_______________
                                                          Eric Proshansky
                                                          Gail Rubin
                                                          Melanie Ash
                                                          Doris Bernhardt

                                                         Assistant Corporation Counsels
